Case 2:20-cv-01393-ODW-JPR Document 1 Filed 02/12/20 Page 1 of 7 Page ID #:1




  1     CENTER FOR DISABILITY ACCESS
        Raymond Ballister Jr., Esq., SBN 111282
  2     Phyl Grace, Esq., SBN 171771
        Russell Handy, Esq., SBN 195058
  3     Dennis Price, Esq., SBN 279082
        Mail: 8033 Linda Vista Road, Suite 200
  4     San Diego, CA 92111
        (858) 375-7385; (888) 422-5191 fax
  5     phylg@potterhandy.com
  6     Attorneys for Plaintiff
  7
  8
                                UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
10
11      Luis Marquez,                              Case No.

12                Plaintiff,
                                                   Complaint For Damages And
13        v.                                       Injunctive Relief For Violations
                                                   Of: American’s With Disabilities
14      Georgia Efstathiou, in individual          Act; Unruh Civil Rights Act
        and representative capacity as
15      trustee of The John G. Efstathiou
        QTIP Trust dated November 25,
16      2001;
        Polly’s Inc., a California
17      Corporation; and Does 1-10,

18                Defendants.

19
20          Plaintiff Luis Marquez complains of Georgia Efstathiou, in individual

21    and representative capacity as trustee of The John G. Efstathiou QTIP Trust

22    dated November 25, 2001; Polly’s Inc., a California Corporation; and Does 1-

23    10 (“Defendants”), and alleges as follows:

24
25      PARTIES:

26      1. Plaintiff is a California resident with physical disabilities. He is a

27    paraplegic who cannot walk and who uses a wheelchair for mobility.

28      2. Defendant Georgia Efstathiou, in individual and representative


                                            1

      Complaint
Case 2:20-cv-01393-ODW-JPR Document 1 Filed 02/12/20 Page 2 of 7 Page ID #:2




  1   capacity as trustee of The John G. Efstathiou QTIP Trust dated November 25,
  2   2001, owned the real property located at or about 7865 E. Florence Avenue,
  3   Downey, California, in December 2019.
  4     3. Defendant Georgia Efstathiou, in individual and representative
  5   capacity as trustee of The John G. Efstathiou QTIP Trust dated November 25,
  6   2001, owns the real property located at or about 7865 E. Florence Avenue,
  7   Downey, California, currently.
  8     4. Defendant Polly’s Inc. owned KFC located at or about 7865 E. Florence
  9   Avenue, Downey, California, in December 2019.
10      5. Defendant Polly’s Inc. owns KFC (“Restaurant”) located at or about
11    7865 E. Florence Avenue, Downey, California, currently.
12      6. Plaintiff does not know the true names of Defendants, their business
13    capacities, their ownership connection to the property and business, or their
14    relative responsibilities in causing the access violations herein complained of,
15    and alleges a joint venture and common enterprise by all such Defendants.
16    Plaintiff is informed and believes that each of the Defendants herein,
17    including Does 1 through 10, inclusive, is responsible in some capacity for the
18    events herein alleged, or is a necessary party for obtaining appropriate relief.
19    Plaintiff will seek leave to amend when the true names, capacities,
20    connections, and responsibilities of the Defendants and Does 1 through 10,
21    inclusive, are ascertained.
22
23      JURISDICTION & VENUE:
24      7. The Court has subject matter jurisdiction over the action pursuant to 28
25    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
26    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
27      8. Pursuant to supplemental jurisdiction, an attendant and related cause
28    of action, arising from the same nucleus of operative facts and arising out of


                                             2

      Complaint
Case 2:20-cv-01393-ODW-JPR Document 1 Filed 02/12/20 Page 3 of 7 Page ID #:3




  1   the same transactions, is also brought under California’s Unruh Civil Rights
  2   Act, which act expressly incorporates the Americans with Disabilities Act.
  3     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
  4   founded on the fact that the real property which is the subject of this action is
  5   located in this district and that Plaintiff's cause of action arose in this district.
  6
  7     FACTUAL ALLEGATIONS:
  8     10. Plaintiff went to the Restaurant in December 2019 (twice) with the
  9   intention to avail himself of its goods, motivated in part to determine if the
10    defendants comply with the disability access laws.
11      11. The Restaurant is a facility open to the public, a place of public
12    accommodation, and a business establishment.
13      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
14    to provide wheelchair accessible restrooms in conformance with the ADA
15    Standards as it relates to wheelchair users like the plaintiff.
16      13. On information and belief, the defendants currently fail to provide
17    wheelchair accessible restrooms.
18      14. Additionally, on the date of the plaintiff’s visit, the defendants failed to
19    provide wheelchair accessible paths of travel leading to the restroom in
20    conformance with the ADA Standards as it relates to wheelchair users like the
21    plaintiff.
22      15. On information and belief, the defendants currently fail to provide
23    wheelchair accessible paths of travel leading to the restroom.
24      16. These barriers relate to and impact the plaintiff’s disability. Plaintiff
25    personally encountered these barriers.
26      17. As a wheelchair user, the plaintiff benefits from and is entitled to use
27    wheelchair accessible restrooms and paths of travel. By failing to provide
28    accessible facilities, the defendants denied the plaintiff full and equal access.


                                                3

      Complaint
Case 2:20-cv-01393-ODW-JPR Document 1 Filed 02/12/20 Page 4 of 7 Page ID #:4




  1     18. The failure to provide accessible facilities created difficulty and
  2   discomfort for the Plaintiff.
  3     19. The defendants have failed to maintain in working and useable
  4   conditions those features required to provide ready access to persons with
  5   disabilities.
  6     20. The barriers identified above are easily removed without much
  7   difficulty or expense. They are the types of barriers identified by the
  8   Department of Justice as presumably readily achievable to remove and, in fact,
  9   these barriers are readily achievable to remove. Moreover, there are numerous
10    alternative accommodations that could be made to provide a greater level of
11    access if complete removal were not achievable.
12      21. Plaintiff will return to the Restaurant to avail himself of its goods and to
13    determine compliance with the disability access laws once it is represented to
14    him that the Restaurant and its facilities are accessible. Plaintiff is currently
15    deterred from doing so because of his knowledge of the existing barriers and
16    his uncertainty about the existence of yet other barriers on the site. If the
17    barriers are not removed, the plaintiff will face unlawful and discriminatory
18    barriers again.
19      22. Given the obvious and blatant nature of the barriers and violations
20    alleged herein, the plaintiff alleges, on information and belief, that there are
21    other violations and barriers on the site that relate to his disability. Plaintiff will
22    amend the complaint, to provide proper notice regarding the scope of this
23    lawsuit, once he conducts a site inspection. However, please be on notice that
24    the plaintiff seeks to have all barriers related to his disability remedied. See
25    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
26    encounters one barrier at a site, he can sue to have all barriers that relate to his
27    disability removed regardless of whether he personally encountered them).
28


                                                4

      Complaint
Case 2:20-cv-01393-ODW-JPR Document 1 Filed 02/12/20 Page 5 of 7 Page ID #:5




  1   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
  2   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
  3   Defendants.) (42 U.S.C. section 12101, et seq.)
  4     23. Plaintiff re-pleads and incorporates by reference, as if fully set forth
  5   again herein, the allegations contained in all prior paragraphs of this
  6   complaint.
  7     24. Under the ADA, it is an act of discrimination to fail to ensure that the
  8   privileges, advantages, accommodations, facilities, goods and services of any
  9   place of public accommodation is offered on a full and equal basis by anyone
10    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
11    § 12182(a). Discrimination is defined, inter alia, as follows:
12             a. A failure to make reasonable modifications in policies, practices,
13                 or procedures, when such modifications are necessary to afford
14                 goods,    services,    facilities,   privileges,    advantages,   or
15                 accommodations to individuals with disabilities, unless the
16                 accommodation would work a fundamental alteration of those
17                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
18             b. A failure to remove architectural barriers where such removal is
19                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
20                 defined by reference to the ADA Standards.
21             c. A failure to make alterations in such a manner that, to the
22                 maximum extent feasible, the altered portions of the facility are
23                 readily accessible to and usable by individuals with disabilities,
24                 including individuals who use wheelchairs or to ensure that, to the
25                 maximum extent feasible, the path of travel to the altered area and
26                 the bathrooms, telephones, and drinking fountains serving the
27                 altered area, are readily accessible to and usable by individuals
28                 with disabilities. 42 U.S.C. § 12183(a)(2).


                                              5

      Complaint
Case 2:20-cv-01393-ODW-JPR Document 1 Filed 02/12/20 Page 6 of 7 Page ID #:6




  1     25. When a business provides facilities such as restrooms, it must provide
  2   accessible restrooms.
  3     26. Here, accessible restrooms have not been provided.
  4     27. When a business provides paths of travel, it must provide accessible
  5   paths of travel.
  6     28. Here, accessible paths of travel have not been provided.
  7     29. The Safe Harbor provisions of the 2010 Standards are not applicable
  8   here because the conditions challenged in this lawsuit do not comply with the
  9   1991 Standards.
10      30. A public accommodation must maintain in operable working condition
11    those features of its facilities and equipment that are required to be readily
12    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
13      31. Here, the failure to ensure that the accessible facilities were available
14    and ready to be used by the plaintiff is a violation of the law.
15
16    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
17    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
18    Code § 51-53.)
19      32. Plaintiff repleads and incorporates by reference, as if fully set forth
20    again herein, the allegations contained in all prior paragraphs of this
21    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
22    that persons with disabilities are entitled to full and equal accommodations,
23    advantages, facilities, privileges, or services in all business establishment of
24    every kind whatsoever within the jurisdiction of the State of California. Cal.
25    Civ. Code §51(b).
26      33. The Unruh Act provides that a violation of the ADA is a violation of the
27    Unruh Act. Cal. Civ. Code, § 51(f).
28      34. Defendants’ acts and omissions, as herein alleged, have violated the


                                               6

      Complaint
Case 2:20-cv-01393-ODW-JPR Document 1 Filed 02/12/20 Page 7 of 7 Page ID #:7




  1   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
  2   rights to full and equal use of the accommodations, advantages, facilities,
  3   privileges, or services offered.
  4      35. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
  5   discomfort or embarrassment for the plaintiff, the defendants are also each
  6   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
  7   (c).)
  8
  9             PRAYER:
10              Wherefore, Plaintiff prays that this Court award damages and provide
11    relief as follows:
12            1. For injunctive relief, compelling Defendants to comply with the
13    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
14    plaintiff is not invoking section 55 of the California Civil Code and is not
15    seeking injunctive relief under the Disabled Persons Act at all.
16            2. Damages under the Unruh Civil Rights Act, which provides for actual
17    damages and a statutory minimum of $4,000 for each offense.
18            3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
19    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
20
21    Dated: February 6, 2020              CENTER FOR DISABILITY ACCESS
22
23
24
                                           By:________________________________
25
                                                  Russell Handy, Esq.
26                                                Attorney for plaintiff

27
28


                                                 7

      Complaint
